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                                UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

 REGIONS BANK, an Alabama banking corporation,

          Plaintiff,

 vs.                                                              8:12-cv-01837-EAK-MAP

 MARVIN I. KAPLAN, an individual; et al.,

       Defendants.
 __________________________________/

 REGIONS’ MOTION TO EXCLUDE OPINION TESTIMONY OF KAPLAN ENTITIES’
           EXPERT AND SUPPORTING MEMORANDUM OF LAW 1

          Regions seeks an order, pursuant to FRE 702 and 402, excluding the opinions of Jason D.

 Koontz (“Koontz”) against Regions.

                                            BACKGROUND

          Koontz has two opinions against Regions:

          Opinion #1:

          [It] did not follow prudent and acceptable banking practice when wiring funds on
          uncollected balances.

          Opinion #2:

          [It] did not follow prudent banking practices when ageing [sic] to but disregarding
          a customer’s instructions regarding electronic transfers from the customer’s
          account.

 Koontz Report at 11-12. 2


 1
   Unless otherwise defined herein, all capitalized terms have the definitions in the Joint
 Statement of Undisputed Material Facts submitted by Bank Parties. “Report” is Koontz’ report
 dated May 14, 2015, which has been submitted with Bank Parties’ Notice of Filing Deposition
 Transcripts and Deposition Exhibits. Unless otherwise indicated, all emphasis and brackets are
 added.
 2
     These opinions are independent of each other. Koontz dep. at 182-83.

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        On Opinion #1, Koontz contends Regions made an imprudent credit decision in

 executing Kaplan Entities’ payment orders using uncollected funds because Regions may not be

 able to recover the wired funds from the beneficiary’s bank or the customers if an overdraft

 occurred. Id. at 11. On Opinion #2, Koontz assumes the truth of Kaplan Entities’ averment that

 Regions orally agreed to wire only cleared funds, id, and concludes that Regions was not prudent

 in breaching this oral agreement. Id. at 12.

        These opinions do not satisfy Rule 702 and are irrelevant under Rule 402.              Whether

 Regions made an imprudent credit decision in wiring uncollected funds is not at issue. Koontz

 lacks any knowledge of standard commercial practices of banks in Sarasota, Florida concerning

 wiring uncollected funds—knowledge essential to an “ordinary care” inquiry under Florida’s

 Uniform Commercial Code (“UCC”). Opinion #1 is not reliable and represents Koontz’ pure

 opinion; it is not subject to testing or supported by any authoritative source. Opinion #1 is also

 contrary to law and the Deposit Agreement.            UCC Article 4, the federal Expedited Funds

 Availability Act and the Deposit Agreement permitted Regions to provide availability to Kaplan

 Entities on deposited SAA checks, and Regions owed no duty to Kaplan Entities in making

 availability decisions or wiring uncollected funds.

        Opinion #2 is irrelevant and does not assist the Court as trier of fact. An “imprudent”

 breach of an oral agreement conveys no meaning, much less an expert meaning. Koontz has no

 opinion, nor could he, whether Regions breached an oral agreement.

                                            ARGUMENT

        The Court acts as gatekeeper to admission of expert testimony. Daubert v. Merrell Dow

 Pharm., 509 U.S. 579 (1993); Quiet Technology DC-8 v. Hurel-Dubois UK Ltd., 326 F.3d 1333,

 1340 (11th Cir. 2003). The Court conducts a three-part inquiry under Rule 702: (1) whether the


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 expert is qualified to testify competently regarding the subject matter; (2) whether the

 methodology is sound; and (3) whether the testimony assists the trier of fact through application

 of scientific, technical, or specialized expertise. Edwards v. Shanley, 580 F. App'x 816, 822

 (11th Cir. 2014) (citing United States v. Frazier, 387 F.3d 1244, 1258, 1260 (11th Cir. 2004) (en

 banc) (in turn, citing Daubert, 509 U.S. at 589). Kaplan Entities have the burden on these

 criteria. Frazier, 387 F.3d at 1260.

 I.     OPINION #1

        A.      Opinion #1 Not Relevant

        Koontz admitted that Opinion #1 derives from a protection-of-the-bank perspective, not

 protection-of-the-customer. Koontz dep. at 211-14.          He also acknowledged that a bank is

 entitled to execute wires on uncollected funds, and readily admitted the Kaplan Entities were

 liable for the overdrafts under the Deposit Agreement and the law. Id. at 216-20; 225-26. 3

 Whether Regions made a prudent credit decision to advance funds on deposited SAA checks for

 Kaplan Entities’ internal transfers or outgoing wires is not at issue, rendering Opinion #1

 inadmissible under Rule 702 and irrelevant under Rule 402. Daubert, 509 U.S. at 591–92 (“Rule

 702 further requires that the evidence or testimony ‘assist the trier of fact to understand the

 evidence or to determine a fact in issue.’ This condition goes primarily to relevance. ‘Expert

 testimony which does not relate to any issue in the case is not relevant and, ergo, non-helpful.’”).

        B.      No Knowledge of Commercial Standards in Relevant Location

        Kaplan Entities’ claim that Regions failed to act with ordinary care is based on its

 providing availability on deposited SAA checks.           ACC ¶ 316.        “Ordinary care” is the

 “observance of reasonable commercial standards, prevailing in the area in which the person is

 3
   Before rendering his opinion, Koontz reviewed the Deposit Agreement. Koontz dep. at 49,
 186-87, 191-92.
                                                   3
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 located, with respect to the business in which the person is engaged.” See § 673.1031(1)(g); §

 674.104(3) (adopting for Article 4 definition of “ordinary care” in § 673.1031(1)(g)). Regions

 maintained the Kaplan Accounts at its branch at 1626 Ringling Blvd., Sarasota, Florida, the same

 building in which Kaplan worked, at which all SAA checks were deposited. See, e.g., ACC ¶¶

 122, 145, 318.

          Koontz has no knowledge of any commercial standards in Sarasota concerning the

 subject matter of Opinion #1. Koontz dep. at 203-05. Koontz’s lack of knowledge regarding the

 prevailing banking standards in Sarasota, Florida where the Kaplan Accounts were located and

 the relevant location under § 673.1031(1)(g) renders him incompetent to offer testimony on

 “ordinary care.” Berhow v. The Peoples Bank, 2006 WL 839529 (S.D. Miss. 2006) (excluding

 testimony under Mississippi’s UCC § 3-103(a)(7) because expert was not familiar with

 prevailing commercial banking standards in Biloxi, Mississippi, the relevant location to

 determine ordinary care); Valley Bank of Ronan v. Hughes, 147 P.3d 185, 195 (Mont. 2006)

 (affirming district court’s exclusion of expert testimony regarding bank’s ordinary care because

 expert possessed no knowledge of prevailing banking standards in Ronan, Montana, the relevant

 location under Montana’s UCC § 3-102(1)(g)). 4

          C.      Opinion #1 Not Reliable

          Opinion #1 represents classic ipse dixit reasoning not subject to testing or supported by

 any authoritative source:

          Q. Okay. In evaluating and then rendering your opinion number, did you review
          the Uniform Commercial Code as -- as adopted in Florida?

          A. I did not.

          Q. Have you ever reviewed the Uniform Commercial code adopted anywhere?
 4
     The same as § 673.1031(1)(g).

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        A. I have at some point, yes.

        Q. The one in West Virginia?

        A. I've reviewed it. I've worked on cases in West Virginia, Ohio, Florida -- a few
        states. I can't specifically think at the moment if there's a particular version.

        Q. Okay. What -- what provisions of the Uniform Commercial Code, Article 4 in
        particular, are pertinent to your opinion number 1 with respect to a bank wiring
        out uncollected funds?

        A. I would have to review that before I could speak with any certainty.

        Q. So you did not review any part of Article 4 of the UCC prior to rendering your
        opinion to see if your opinion was consistent or inconsistent with Article 4 to the
        UCC.

        A. That's correct.

        Q. And -- and the same with respect to Brady on Bank checks.[5] You did not
        review any part of Brady on Bank [C]hecks to determine if your opinion number
        1 was consistent with or inconsistent with Brady on Bank [C]hecks?

        A. That's correct.

        Q. Okay. Any other authoritative materials – did you review any other
        authoritative materials before deciding to render your opinion number 1?[6]

        A. No.

        Q. Are there any publications that you are aware of anywhere in the world that
        actually supports your opinion number 1?

        A. I cannot give you a specific reference.



 5
   Koontz testified that he reviewed Brady on Bank Checks for the “Refer to Maker” issue, and
 decided not to render any opinions on that subject. Koontz dep. at 53-54; 187.
 6
   Not surprisingly, Opinion #1 is contrary to authoritative sources. See, e.g., 6A Hawkland UCC
 Series § 4-215:14 [Rev.] (“A bank may forego its right to delay availability of funds. The bank
 even may have different availability policies for different classes of customers. It may choose to
 give most of its customers immediate use of the funds and to selectively impose holds on a case-
 by-case basis. A bank may impose holds on a case-by-case basis as long as the funds are made
 available no later than required under the Mandatory Availability Schedule.”) (footnote omitted).
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        Q. How about any reference, specific or nonspecific?

        A. I don't know.

        Q. Are there -- are there any cases -- you know what I mean by "cases," right?

        A. Yes.

        Q. Case law.       Is there any case law that supports your opinion number 1
        anywhere?

        A. I don't know.

        Q. Did you look?

        A. I've -- I've done some preliminary work. We referenced an e-mail there earlier.
        I've looked at cases from time to time. I don't specifically remember seeing a case
        in regards to what you're asking.

        Q. If -- if -- if there were a case which specifically disagrees with your opinion,
        would that --would that affect your opinion?

        A. It could.

        Q. Would it –

        A. I would be totally open to taking a look at it.

 Koontz dep. at 200-03.      Proffered expert testimony must be based, inter alia, on a reliable

 foundation, Chapman v. Procter & Gamble Distrib., LLC, 766 F.3d 1296, 1305 (11th Cir. 2014),

 cert. denied, 135 S. Ct. 2312 (2015), and be subject to testing. Adams v. Lab. Corp. of Am., 760

 F.3d 1322, 1327 (11th Cir. 2014) (“trial courts may consider a non-exhaustive list of factors

 including (1) whether the expert's theory can be and has been tested; (2) whether the theory has

 been subjected to peer review and publication; (3) the known or potential error rate of the

 technique; and (4) whether the technique is generally accepted in the scientific community. Id.”).

 Opinion #1 constitutes “ipse dixit reasoning devoid of any substantive analysis, [and is]

 insufficient as a matter of law.” Madura v. BAC Home Loans Servicing L.P., 2013 WL 3777094,


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 at *7 (M.D. Fla. 2013), aff'd, 593 F. App'x 834 (11th Cir. 2014), cert. denied, Madura v. Bank of

 Am., N.A., 136 S. Ct. 133 (2015) (quoting Cook ex rel. Estate of Tessier v. Sheriff of Monroe

 Cnty., 402 F.3d 1092, 1111 (11th Cir. 2005)). “Pure opinion” expert testimony is not reliable

 and should be excluded. See Pearson-Heffner v. United States, 2006 WL 3075703, at *16 (M.D.

 Ala. 2006).

        D.      Opinion #1 Contrary to Law

        An expert opinion contrary to law is inadmissible. Martinez v. Rabbit Tanaka Corp. Ltd.,

 2006 WL 5100536, at *14 (S.D. Fla. 2006); Bailey v. Allgas, Inc., 148 F. Supp. 2d 1222, 1246

 (N.D. Ala. 2000), aff'd, 284 F.3d 1237 (11th Cir. 2002) (excluding expert because, inter alia, the

 expert’s “conclusions are based upon analyses that are contrary to the law as established by the

 Eleventh Circuit and the United States Supreme Court, and therefore lack any credible support.”).

 As Koontz acknowledged, see Koontz dep. at 214-15; 218-19; 225-26, the law and the Deposit

 Agreement permitted Regions to provide availability on deposited SAA checks and use of

 uncollected funds for Kaplan Entities’ outgoing wires. See also Regions’ motion for summary

 judgment at 16-20 (cataloguing cases). Indeed, providing availability on checks is standard

 banking practice. See Fischer & Mandell LLP v. Citibank, N.A., 632 F. 3d 793, 799 (2d Cir.

 2011) (“By permitting its customers access to funds on a provisional basis, subject to the right of

 a charge-back and refund, Citibank was merely following a practice that is common in the

 banking industry.”).

 II.    OPINION #2

        Koontz opines that Regions acted imprudently by breaching an oral agreement with

 Kaplan Entities, Koontz dep. at 229, because a banker should keep her word. Id. at 242-43.

 Opinion #2 is not based on “scientific, technical, or other specialized knowledge,” FRE 702(a),


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 but rather on Koontz’s general sense of banking etiquette: “As a banker if I were to give my

 word to someone, I would expect that my word would stand.” Id. at 242; accord id. at 243 (“I

 think it’s – would be prudent for a banker if they were to give someone their word or to agree

 with something that they live with that word.”). This does not assist the Court as trier of fact.

        Opinion #2 is contrary to the law and the governing account agreements. Article 4A, the

 Deposit Agreement, and the WTA all require any special instructions, agreements or limitations

 regarding wires be in writing. See § 670.202(2) (bank must comply with “any written agreement

 or instruction of the customer restricting acceptance of payment orders issued in the name of the

 customer”); Deposit Agreement ¶ 4 (“Special instructions for handling an item[7] are effective

 only if made in a separate writing and given to us along with the item.”); WTA ¶ 4 (“Each

 payment order that you send us must comply with the requirements of the [WTA], contain

 sufficient data and comply with any written instructions or restrictions that you have given us.”).

 Indeed, after reviewing paragraph 37 of the Deposit Agreement prohibiting Kaplan Entities from

 relying on oral representations 8 of Regions employees, Koontz admitted that he was “satisfied

 that the deposit agreement to which Mr. Kaplan agreed precludes oral agreements concerning

 deposit accounts[.]” Id. at 237-40. 9




 7
    The Deposit Agreement defines “items” as including telephonic transfers. Deposit Agreement
 at 1.
 8
    There is no writing by which Regions agreed to wire only cleared funds, and although the
 account agreements permitted the Kaplan Entities to provide such written limitations, they failed
 to do so. SOF ¶¶ 33, 37(c)-(d).
 9
   Koontz also acknowledged that based on the Deposit Agreement, if the bank did not notify the
 customer of a hold, the customer should be aware that deposits are receiving next-day
 availability, Koontz dep. at 218, and if the customer used the availability, the customer is
 obligated to reimburse the bank for any overdrafts resulting from that use. Id. at 219.

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        Opinion #2—based on general concepts of right and wrong and from which Koontz

 retreated at deposition—is not the proper subject of expert testimony. See United States v.

 Masferrer, 367 F. Supp. 2d 1365, 1373 (S.D. Fla. 2005) (“Proffered expert testimony generally

 will not help the trier of fact when it offers nothing more than factual and legal conclusions

 argued by experienced lawyers for the parties in closing arguments.”) (citing U.S. v. Frazier, 387

 F.3d 1244, 1262 (11th Cir. 2004)).

                                           CONCLUSION

        The Court should preclude Koontz from offering any opinions against Regions.

                              LOCAL RULE 3.01(g) CERTIFICATE

        I certify that before filing this motion, we conferred with counsel to Kaplan Entities in a

 good faith effort to resolve the issues raised by the motion, and we were unable to agree.

 Dated: November 16, 2015

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                                        By:     /s/ David S. Garbett
                                                David S. Garbett

                                   CERTIFICATE OF SERVICE

        I certify that on November 16, 2015, I electronically transmitted the foregoing document

 to the Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic

 Filing to all counsel of record identified on the below service list.

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                                                /s/ Joseph D. Perkins

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